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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                            Plaintiff,          )
                                                )
v.                                              )      Case No. 4:96CR3043
                                                )
PORSHA R. TURNER MAYER,                         )
                                                )
                            Defendant.          )

                                         ORDER

      THIS MATTER comes before the Court on Defendant's unopposed motion to

continue the March 20, 2008, revocation hearing in this case until a date and time certain

for not less than 90 days, filing 161. The Court, being fully advised in the premises, and

noting that the Government and the probation office have no objection, finds that said

motion should be granted.

      IT IS THEREFORE ORDERED that the revocation hearing scheduled in this case

shall be continued until the 19th day of June, 2008, at 1:00 p.m. The Defendant is ordered

to appear at such time.

      Dated this 18th day of March, 2008.

                                                BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
